Case 2:21-cv-00376-JRG Document 247 Filed 11/02/22 Page 1 of 4 PageID #: 15265




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 ERICSSON INC., AND                                 §
 TELEFONAKTIEBOLAGET LM                             §
 ERICSSON,                                          §
                                                    §
                Plaintiffs,                         §
                                                    §
 v.                                                 §   CIVIL ACTION NO. 2:21-CV-00376-JRG
                                                    §
 APPLE INC.,                                        §
                                                    §
                Defendant.                          §

                              ORDER ON MOTIONS IN LIMINE

       The Court issues this Order sua sponte. Too often in today’s practice the Court finds itself

confronted with excessive proposed limine motions. Often parties are tempted to engage in such

improper conduct as using limine practice to seek a second review of a matter already covered by

a substantive motion, such as a summary judgment motion, a motion to strike, or a Daubert motion.

Other parties fail to resist the inclination to offer limine motions that do nothing other than ask the

Court to order the parties to follow the already existing rules of practice embodied in the Federal

Rules of Civil Procedure and the Federal Rules of Evidence. While this may be tempting in the

competitive arena of trial practice, such creates an overly burdensome tax on the Court’s time and

resources as well as those of the opposing parties. Accordingly, to address these untoward practices

and yet allow for reasonable and relevant limine practice as part of the pretrial conference, the

Court imposes the following guidelines and limits.

       The Court imposes the following set of standard limine rulings to be applied mutually to

both parties. In addition to these limine orders, each party will be permitted to propose and argue

(if opposed) up to five (5) of its own motions in limine at the Pretrial Conference. Limine motions
Case 2:21-cv-00376-JRG Document 247 Filed 11/02/22 Page 2 of 4 PageID #: 15266




outside these limits will not be considered. Limine motions that are multifarious so as to exceed

the above limitations will also not be considered. It is therefore ORDERED that the Parties, their

witnesses, and counsel shall not raise, discuss, or argue the following before the venire panel or

the jury without prior leave of the Court:

 Court MIL No. 1:      The parties shall be precluded from introducing evidence, testimony,
                       or argument regarding pretrial proceedings or issues including but
                       not limited to discovery disputes or dispositive motion practice.
 Court MIL No. 2:      The parties shall be precluded from introducing evidence, testimony,
                       or argument that raises religious or political beliefs, race, ethnicity,
                       gender, national origin, sexual orientation, or health (including but
                       not limited to vaccination status) of a party, witness, attorney, or law
                       firm.
 Court MIL No. 3:      The parties shall be precluded from introducing evidence, testimony,
                       or argument concerning any party’s overall financial size, wealth, or
                       executive compensation.
 Court MIL No. 4:      The parties shall be precluded from introducing evidence, testimony,
                       or argument regarding prior art that is not disclosed in a specific
                       combination set forth in any party’s expert report or invalidity
                       contentions.
 Court MIL No. 5:      The parties shall be precluded from introducing evidence, testimony,
                       or argument before the jury that relates only to equitable defenses or
                       counterclaims (i.e., evidence that does not also serve another
                       evidentiary purpose relevant to jury issues).
 Court MIL No. 6:      The parties shall be precluded from introducing evidence, testimony,
                       or argument concerning the Patent Trial and Appeal Board, inter
                       partes review, the Smith-Leahy America Invents Act, or any
                       alternative structure that does not relate directly to an Article III trial
                       in a district court.
 Court MIL No. 7:      The parties shall be precluded from introducing evidence, testimony,
                       or argument suggesting that there is anything legally improper in
                       filing a patent application or writing patent claims to cover an adverse
                       party’s product.
 Court MIL No. 8:      The parties shall be precluded from introducing any argument,
                       evidence, testimony, insinuation, reference, or assertion regarding a
                       witness’ choice to testify in his or her native or chosen language (being
                       any language other than English).
 Court MIL No. 9:      The parties shall be precluded from introducing evidence, testimony,
                       or argument referring to any other person or entity as “greedy,”


                                                2
Case 2:21-cv-00376-JRG Document 247 Filed 11/02/22 Page 3 of 4 PageID #: 15267




                     “corrupt,” “evil,” or “dishonest,” or using any other pejorative term.
                     The parties shall also be precluded from introducing evidence,
                     testimony, or argument that characterizes any other person or entity’s
                     actions as “stealing,” “copying,” “misappropriating,” “pirating,”
                     “trespassing,” or any similar terms.
 Court MIL No. 10: The parties shall be precluded from introducing evidence, testimony,
                   or argument bolstering or disparaging the U.S. Patent Office, its
                   examiners, or the process for prosecuting patent applications or
                   granting patents in the United States. This does not preclude factual
                   evidence as to the operations of the USPTO.
 Court MIL No. 11: The parties shall be precluded from introducing evidence, testimony,
                   or argument referring to any other person or entity in disparaging
                   ways, such as a “patent troll,” “pirate,” “bounty hunter,” “bandit,”
                   “playing the lawsuit lottery,” “shell company,” “shakedown artist,”
                   “patent assertion entity,” or any such similar terms. Use of the term
                   “non-practicing entity” is permitted.
 Court MIL No. 12: The parties shall be precluded from introducing evidence, testimony,
                   or argument regarding funding of the litigation or regarding any
                   comment on attorney-fee compensation including amounts or
                   structure.
 Court MIL No. 13: The parties shall be precluded from introducing evidence, testimony,
                   or argument regarding either party’s other litigations or arbitrations,
                   including parallel proceedings in any other court, tribunal, or forum,
                   including ADR proceedings.
 Court MIL No. 14: The parties shall be precluded from introducing evidence, testimony,
                   or argument regarding the size of the parties’ law firms or the number
                   of attorneys representing the parties.
 Court MIL No. 15: The parties shall be precluded from introducing evidence, testimony,
                   or argument regarding the fact that testimony or opinions offered by
                   any expert may have been criticized, excluded, or found to be
                   unreliable in any other forum.
 Court MIL No. 16: The parties shall be precluded from introducing evidence, testimony,
                   or argument referring to the role or presence in the courtroom of jury
                   consultants or shadow jurors, or the use of focus groups or mock
                   proceedings to assist with trial preparation, jury selection, or trial.
 Court MIL No. 17: The parties shall be precluded from introducing evidence, testimony,
                   or argument relating to the Court’s Claim Construction Order other
                   than the Court’s actual adopted constructions, including the Court’s
                   reasoning or the parties’ agreements.
 Court MIL No. 18: The parties shall be precluded from introducing evidence, testimony,
                   or argument for purposes of non-infringement comparing the accused


                                             3
Case 2:21-cv-00376-JRG Document 247 Filed 11/02/22 Page 4 of 4 PageID #: 15268




                    product or method to the preferred embodiments, the specification,
                    or any non-accused product or method.
 Court MIL No. 19: The parties shall be precluded from introducing evidence, testimony,
                   or argument suggesting that a verdict in one party’s favor would
                   impact the cost of goods or services or would have other commercial
                   impacts.
 Court MIL No. 20: The parties shall be precluded from introducing evidence, testimony,
                   or argument suggesting that the Eastern District of Texas is an
                   improper or inconvenient venue in which to try this case.
 Court MIL No. 21: The parties shall be precluded from introducing evidence, testimony,
                   or argument suggesting that the other party had an affirmative duty
 .                 to seek opinion of counsel, and/or any inference that may be drawn as
                   to what the contents of such an opinion would have been.
 Court MIL No. 22: Neither party will ask questions or make statements to invoke a
                   privileged or protected answer, including any materials that are
                   privileged, or that have been presented outside of the jury to
                   establish/prevent a finding of privilege.
 Court MIL No. 23: No expert witness may testify to expert opinions outside the
                   established parameters of her/his expert report, and counsel shall not
                   raise such an objection for strategic or other non-meritorious
                   purposes.


    So ORDERED and SIGNED this 2nd day of November, 2022.




                                                  ____________________________________
                                                  RODNEY GILSTRAP
                                                  UNITED STATES DISTRICT JUDGE




                                            4
